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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


Jaleel Kevin Stallings,                                   Case No.
                                                          Complaint
              Plaintiff,

v.                                                        Jury Trial Demanded
                                                          Fed. R. Civ. P. 38(b)
Andrew Bittell, acting in his individual capacity
as a Minneapolis Police Officer; Michael Osbeck,
Jr., acting in his individual capacity as a
Minneapolis Police Officer; Christopher
Cushenbery, acting in his individual capacity as a
Minneapolis Police Officer; Justin Stetson, acting
in his individual capacity as a Minneapolis Police
Officer; Kristopher Dauble, acting in his
individual capacity as a Minneapolis Police
Officer; Nathan Sundberg, acting in his individual
capacity as a Minneapolis Police Officer;
Matthew Severance, acting in his individual
capacity as a Minneapolis Police Officer;
Christopher Lokke, acting in his individual
capacity as a Minneapolis Police Officer; Ronald
Stenerson, acting in his individual capacity as a
Minneapolis Police Officer; James Jensen, acting
in his individual capacity as a Minneapolis Police
Officer; Michael Heyer, acting in his individual
capacity as a Minneapolis Police Officer; Johnny
Mercil, acting in his individual capacity as a
Minneapolis Police Officer; Bruce Folkens, acting
in his individual capacity as a Minneapolis Police
Officer; Robert Kroll, acting in his individual
capacity as a Minneapolis Police Officer; John
Does 1-5, acting in their individual capacities as
Minneapolis Police Officers; and the City of
Minneapolis,

              Defendants.




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       For his Complaint, Plaintiff Jaleel Kevin Stallings (“Mr. Stallings”) states and

alleges as follows:

                                    INTRODUCTION

       1.     On May 30, 2020, Minneapolis Police Department (“MPD”) officers

engaged in a pattern of violence and malice toward protesters and civilians following the

murder of George Floyd (“Mr. Floyd”). Jaleel Stallings was one victim of that operation.

While Mr. Stallings was in a parking lot, an unmarked van came past a building and

immediately fired two shots at him. One shot hit Mr. Stallings in his chest. Fearing for his

life, Mr. Stallings fired toward, but not directly at, the van while he went into cover. Once

in cover, Mr. Stallings learned that the van contained police officers. He discarded his

weapon and surrendered. Despite his surrender, officers beat him for approximately thirty

seconds. Nearby officers watched and did nothing to stop the beating.

       2.     After Mr. Stallings was arrested, officers provided false accounts of the

incident and omitted important facts that supported Mr. Stallings’ claim of self-defense.

Officers falsely claimed that Mr. Stallings shot without provocation. Officers falsely

claimed that Mr. Stallings resisted during arrest.

       3.     Despite these false reports, video evidence showed that officers were ordered

to attack civilians. Recordings showed that officers deliberately concealed their appearance

so that they could “hunt” civilians by sneaking up and shooting them with 40mm rounds.

Recordings showed that Mr. Stallings fully submitted to officers as they beat him during

the arrest.




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        4.      The investigation following Mr. Stallings’ arrest relied on false officer

reports. The investigation failed to report favorable facts supporting Mr. Stallings’ exercise

of self-defense. The investigation failed to report that officers gave false and misleading

statements that were contradicted by recordings of the incident. Only through Mr.

Stallings’ own investigative efforts was he acquitted of attempted murder and assault after

a jury trial.

        5.      Officers violated Mr. Stallings’ Fourth Amendment rights by using excessive

force during the encounter on May 30, 2020. Other officers failed to intervene and prevent

or stop these violations.

        6.      Officers violated Mr. Stallings’ First Amendment rights by using force to

intimidate and deter Mr. Stallings and others from assembling and protesting against police

brutality and racism.

        7.      Officers violated Mr. Stallings’ Fourteenth Amendment Due Process rights

by engaging in conduct that shocked the conscience. Officers engaged in a malicious

pattern of force designed to injure and scare civilians. After the incident, investigating

officers conducted a recklessly-flawed investigation that relied on false evidence and failed

to document evidence of self-defense.

        8.      Officers violated Mr. Stallings’ Equal Protection Clause rights by targeting

Black civilians with force and accusing Black civilians of engaging in felonious conduct

without evidentiary support. Mr. Stallings was a Black man who was improperly targeted

and attacked due to officers’ racial bias.




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       9.     Other officers conspired to commit and conceal these constitutional

violations. With the assistance of conspiring officers, these violations were allowed to

occur without fear of accountability or adverse consequences for the involved officers.

       10.    Supervising officers not only knew of these violations—they condoned and

encouraged them. Recordings show supervisors ordering officers to prioritize and use force

against their community. Supervisors showed deliberate indifference to the constitutional

violations committed by their officers.

       11.    These violations are part of a pattern of constitutional violations by the MPD.

Customs causing constitutional violations were long-known by the MPD and the

community at-large before this incident. In fact, it was this historical pattern of

constitutional violations and lack of accountability or deterrence that led the community to

protest with such intensity after the murder of George Floyd. Despite community outrage,

the MPD failed to provide sufficient training or supervision to prevent further violations

from occurring. Recordings from May 30, 2020 show that violations were freely and

widely committed without meaningful attempts to limit, deter, or stop them.

       12.    Mr. Stallings seeks redress for the claims presented herein. Mr. Stallings

seeks compensation for the damages caused by the constitutional violations described. Mr.

Stallings seeks punitive damages to prevent further violations from occurring. Mr. Stallings

seeks other appropriate relief as proceedings permit.




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                                 PARTIES AND VENUE

       13.    Plaintiff Jaleel Kevin Stallings is a citizen of Minnesota. Mr. Stallings is a

military veteran who had a valid permit to carry a weapon on May 30, 2020. Mr. Stallings

is a Black man who sought to participate in protests following Mr. Floyd’s death.

       14.    Defendant Andrew Bittell (“Sgt. Bittell”) is, upon information and belief, a

citizen of Minnesota. Sgt. Bittell served as an officer in the MPD on May 30, 2020. Sgt.

Bittell supervised Unit 1281 on May 30, 2020. Sgt. Bittell acted under color of state law at

all material times. He is sued in his individual capacity.

       15.    Defendant Michael Osbeck, Jr. (“Officer Osbeck”) is, upon information and

belief, a citizen of Minnesota. Officer Osbeck served as an officer in the MPD on May 30,

2020. Officer Osbeck acted under color of state law at all material times. He is sued in his

individual capacity.

       16.    Defendant Christopher Cushenbery (“Officer Cushenbery”) is, upon

information and belief, a citizen of Minnesota. Officer Cushenbery served as an officer in

the MPD on May 30, 2020. Officer Cushenbery acted under color of state law at all material

times. He is sued in his individual capacity.

       17.    Defendant Justin Stetson (“Officer Stetson”) is, upon information and belief,

a citizen of Minnesota. Officer Stetson served as an officer in the MPD on May 30, 2020.

Officer Stetson acted under color of state law at all material times. He is sued in his

individual capacity.

       18.    Defendant Kristopher Dauble (“Officer Dauble”) is, upon information and

belief, a citizen of Minnesota. Officer Dauble served as an officer in the MPD on May 30,


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2020. Officer Dauble acted under color of state law at all material times. He is sued in his

individual capacity.

       19.    Defendant Nathan Sundberg (“Officer Sundberg”) is, upon information and

belief, a citizen of Minnesota. Officer Sundberg served as an officer in the MPD on May

30, 2020. Officer Sundberg acted under color of state law at all material times. He is sued

in his individual capacity.

       20.    Defendant Matthew Severance (“Sgt. Severance”) is, upon information and

belief, a citizen of Minnesota. Sgt. Severance served as an officer in the MPD on May 30,

2020. Sgt. Severance acted as a supervisor on May 30, 2020. Sgt. Severance acted under

color of state law at all material times. He is sued in his individual capacity.

       21.    Defendant Christopher Lokke (“Sgt. Lokke”) is, upon information and belief,

a citizen of Minnesota. Sgt. Lokke served as an officer in the MPD on May 30, 2020. Sgt.

Lokke acted as a supervisor during the relevant time period. Sgt. Lokke acted under color

of state law at all material times. He is sued in his individual capacity.

       22.    Defendant Ronald Stenerson (“Sgt. Stenerson”) is, upon information and

belief, a citizen of Minnesota. Sgt. Stenerson served as an officer in the MPD on May 30,

2020. Sgt. Stenerson acted under color of state law at all material times. He is sued in his

individual capacity.

       23.    Defendant James Jensen (“Sgt. Jensen”) is, upon information and belief, a

citizen of Minnesota. Sgt. Jensen served as an officer in the MPD on May 30, 2020. Sgt.

Jensen acted as a supervisor during the relevant time period. Sgt. Jensen acted under color

of state law at all material times. He is sued in his individual capacity.


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       24.    Defendant Michael Heyer (“Sgt. Heyer”) is, upon information and belief, a

citizen of Minnesota. Sgt. Heyer served as an officer in the MPD on May 30, 2020. Sgt.

Heyer acted as a supervisor during the relevant time period. Sgt. Heyer acted under color

of state law at all material times. He is sued in his individual capacity.

       25.    Defendant Johnny Mercil (“Lt. Mercil”) is, upon information and belief, a

citizen of Minnesota. Lt. Mercil served as an officer in the MPD on May 30, 2020. Lt.

Mercil acted as a supervisor on May 30, 2020. Lt. Mercil acted under color of state law at

all material times. He is sued in his individual capacity.

       26.    Defendant Bruce Folkens (“Commander Folkens”) is, upon information and

belief, a citizen of Minnesota. Commander Folkens served as an officer in the MPD on

May 30, 2020. Commander Folkens acted as a supervisor at all relevant times. Commander

Folkens acted under color of state law at all material times. He is sued in his individual

capacity.

       27.    Defendant Robert Kroll (“Lt. Kroll”) is, upon information and belief, a

citizen of Minnesota. Lt. Kroll served as an officer in the MPD on May 30, 2020. Lt. Kroll

acted under color of state law at all material times. He is sued in his individual capacity.

       28.    Defendants John Does 1-5 (the “Non-intervening Defendants”) are, upon

information and belief, unidentified individuals who were employed as officers in the MPD

on May 30, 2020 and acted under color of state law at all material times. They are sued in

their individual capacities.

       29.    Defendant City of Minneapolis is a municipality incorporated in the State of

Minnesota and is a citizen of Minnesota. The MPD is an agency of the City of Minneapolis.


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                                     JURISDICTION

       30.    Mr. Stallings brings this action pursuant to 42 U.S.C. §§ 1983 and 1988, the

First, Fourth, and Fourteenth Amendments to the United States Constitution, and 28 U.S.C.

§§ 1331 and 1343(a)(3). These statutory and constitutional provisions confer original

jurisdiction of this Court over this matter.

       31.    The events giving rise to this action occurred in Minneapolis, Minnesota.

Venue is proper under 28 U.S.C. § 1391(b)(2).

                               FACTUAL ALLEGATIONS

                                The George Floyd Protests

       32.    On May 25, 2020, Mr. Floyd was murdered during an arrest by MPD officer

Derek Chauvin.

       33.    After Mr. Floyd’s death, widespread and substantial protests occurred

throughout the country. Many of these protests occurred in Minneapolis and, specifically,

at Cup Foods in Minneapolis, the location where Mr. Floyd died.

       34.    The protests opposed racism and excessive use of force by the MPD and

other law enforcement agencies.

       35.    During the protests, some civilians caused property damage and violence.

Subsequent investigations and proceedings have revealed that some damage and violence




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were committed by white supremacists appearing as protesters in order to incite racial

violence. 1

       36.    One such civilian was recorded causing property damage while dressed in

black with a gas mask and umbrella. Some people thought that the person might be a police

officer, but the St. Paul Police Department responded on Twitter that the person was not

an officer. 2 It was later claimed that officers identified that person as a white supremacist

trying to incite violence during the protests. 3

       37.    On May 30, 2020, Governor Walz warned that white supremacists and

groups from other areas were causing violence and damage at the protests. 4 The warning

was widely reported by national media.

                Officers Attack Civilians for Assembling and Protesting

       38.    On May 30, 2020, Sgt. Bittell and Officers Osbeck, Cushenbery, Stetson,

Dauble, and Sundberg operated as Unit 1281. Unit 1281 used less-lethal weaponry in



1
  Matt Sepic, Texas man, 24, admits shooting at Minneapolis police station during riot,
MPR NEWS, Sept. 30, 2021, https://www.mprnews.org/story/2021/09/30/texas-man-24-
admits-shooting-at-minneapolis-police-station-during-riot.
2
  Sharon Yoo, Deciphering fact from fiction during times of high emotion, KARE 11,
May 28, 2020, https://www.kare11.com/article/news/deciphering-fact-and-fiction-
george-floyd/89-034b6045-4166-4517-a9ca-e1730faa7d14.
3
  Libor Jany, Minneapolis police say ‘Umbrella Man’ was a white supremacist trying to
incite George Floyd rioting, STARTRIBUNE, July 28, 2020,
https://www.startribune.com/police-umbrella-man-was-a-white-supremacist-trying-to-
incite-floyd-rioting/571932272/.
4
  Shane Harris, Officials blame outsiders for violence in Minnesota but contradict one
another on who is responsible, THE WASHINGTON POST, May 30, 2020,
https://www.washingtonpost.com/national-security/officials-blame-outsiders-for-
violence-in-minnesota-but-contradict-each-other-on-who-is-
responsible/2020/05/30/d722e9d6-a2b1-11ea-b5c9-570a91917d8d_story.html.

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support of other units. Unit 1281 operated in a white, unmarked van while dressed in black

tactical gear and gas masks. Although some officers had a “Police” patch on their vests,

the patch could be obscured by munitions, equipment, and weapons carried and used by

officers.

       39.    Unit 1281 officers used black-barreled 40mm launchers on May 30, 2020.

Unit 1281 officers used a variety of 40mm rounds toward civilians that evening.

       40.    40mm launchers cause two effects: (1) scare targets and (2) hurt targets.

       41.    On May 30, 2020 Sgt. Bittell commanded and supervised Unit 1281.

       42.    Officer Osbeck drove the unit’s van.

       43.    Officers Cushenbery, Stetson, and Dauble carried 40mm launchers and shot

rounds at civilians throughout the evening.

       44.    Throughout May 30, 2020, Unit 1281 officers fired many 40mm rounds

toward civilians. Officers fired rounds at civilians who were not posing a safety threat.

Officers fired toward civilians who were only violating curfew, a non-violent misdemeanor

offense. Officers used force without first using less- or non-forceful alternatives. Officers

used force without warning or announcement.

       45.    Officers’ use of force in this manner violated MPD policies, as well as

applicable law and constitutional rights.

       46.    Approximately one hour before encountering Mr. Stallings, Unit 1281

deployed to the vicinity of Lake St. and Pillsbury Ave. in Minneapolis where a large group

of protesters were present.




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          47.   The protesters had gathered to oppose police violence and racism that led to

the death of Mr. Floyd. Protesters yelled slogans and chanted.

          48.   At that location, Lt. Mercil acted as supervisor of the assembled officers,

including Unit 1281.

          49.   Prior to and on May 30, 2020, Lt. Mercil was in charge of use-of-force

training for MPD officers.

          50.   At that location, Lt. Mercil saw officers using improper force toward

protesters and other civilians.

          51.   Lt. Mercil suggested that he had seen additional prior uses of improper force

by officers toward journalists and other civilians.

          52.   Knowing that officers had used improper force and were apt to use improper

force toward civilians, Lt. Mercil ordered officers to clear protesters.

          53.   Under Lt. Mercil’s supervision and at his command, officers used 40mm

rounds and physical force against civilians that violated MPD policies and constitutional

rights.

          54.   Neither Lt. Mercil nor other supervising officers at that location made any

effort to stop, deter, or prevent further improper force.

          55.   After protesters moved away, Sgt. Bittell instructed officers to “wait” and

“draw [the protesters] in.” He wanted protesters to come closer to the line of officers so

that officers could shoot the protesters with 40mm rounds. However, protesters did not

draw closer and officers did not shoot at that time.




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       56.    Throughout the evening, Sgt. Bittell directed his team to wait for civilians to

come closer to their position so that officers could shoot them with 40mm rounds. Officers

used verbal commands to disperse the civilians only after first using force.

       57.    Officers repeatedly issued commands and used ambush tactics to draw

unsuspecting civilians into range to then use force without warning or announcement.

       58.    Near Lake St. and Pillsbury Ave., protesters began to leave the area. Unit

1281 officers ran toward protesters who did not retreat quickly.

       59.    Officer Stetson struck a protester in the back of the head with his 40mm

launcher. The protester was standing with arms raised and his back to Officer Stetson at

the time.

       60.    While clearing protesters, officers used many 40mm rounds toward civilians,

even toward civilians at a significant distance from officers.

       61.    Officer Stetson fired a 40mm round and struck a distant civilian. Officers

Stetson yelled “gotcha” at the civilian that he had struck. Other officers laughed and

congratulated Officer Stetson. Officer Dauble gave Officer Stetson a fist bump.

       62.    While the protesters were being cleared, Officer Osbeck spoke with Lt.

Mercil.

       63.    Lt. Mercil mocked journalists who had been covering the protests. Lt. Mercil

spoke positively about using force and suggested that it was time to put people in jail

instead of scattering them. Lt. Mercil expressed encouragement and approval to Officer

Osbeck regarding improper use of force toward journalists and others.




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       64.    Lt. Mercil discussed a desire to prove the mayor wrong about the warning

that white supremacists from other states were causing violence and damage.

       65.    Lt. Mercil proposed that the current group of protesters were “predominantly

white” because there was “not looting and fires.”

       66.    Officer Osbeck said that he agreed with Lt. Mercil and noted that the people

he had interacted with were white and from Minneapolis.

       67.    Lt. Mercil encouraged and condoned unnecessary force toward civilians to

Officer Osbeck and others. Lt. Mercil suggested to Officer Osbeck that non-white persons

should be viewed with suspicion of causing fires and looting based upon their skin color.

       68.    That suspicion encouraged targeting and use of force toward non-white

persons.

       69.    On May 30, 2020, Unit 1281 and other officers directed their force toward

Black civilians and persons protesting in support.

       70.    Officers falsely and inaccurately described Black persons as looters or rioters

on May 30, 2020 and during the surrounding time period.

       71.    Officers described Mr. Stallings and his group as suspected looters and

rioters despite the fact that they were only observed violating curfew.

       72.    Officers did not actually observe Mr. Stallings or his group looting or rioting.

       73.    Video recordings show that Mr. Stallings did not, in fact, engage in looting

or rioting before being shot at by officers.




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                    Unit 1281 is directed to Shoot Civilians on Lake St.

       74.    At approximately 10:40 p.m., Unit 1281 deployed to Hiawatha Ave. and

Lake St. Unit 1281 joined other officers who were using marked squad cars.

       75.    Another officer told Sgt. Bittell that they should be more proactive finding

civilians instead of “chasing our tail.” Sgt. Bittell agreed and said that his team would be

the “head of the snake.”

       76.    Sgt. Severance acted as a supervisor at this location. At Lake St. and

Hiawatha Ave., Sgt. Severance was able to observe officers using improper force toward

civilians in the area. Sgt. Severance described that use of force toward civilians as

“f***[ing] them up.”

       77.    Sgt. Severance directed Sgt. Bittell and other assembled officers to drive

down Lake St. and find groups of people. He said, “you see a f***ing group, call it out, ok

great, f*** ‘em up. Gas ‘em, f*** ‘em up.” Sgt. Bittell chuckled and responded, “So we

can start there.”

       78.    Sgt. Severance’s command encouraged officers to use improper force toward

civilians on Lake St.

       79.    Sgt. Bittell met Unit 1281 officers by their van. Sgt. Bittell told his team

about their mission: “We’re rolling down Lake St. The first f***ers we see, we’re just

handling them with 40[mm rounds].” Sgt. Bittell asked his team if that was a “good copy.”

Unit 1281 officers responded with laughter and enthusiasm.




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       80.    Throughout the evening of May 30, 2020, officers used 40mm rounds to

inflict pain and intimidate civilians who were demonstrating against improper police

practices.

       81.    Officers in Unit 1281 admitted that they enjoyed using 40mm rounds toward

civilians.

       82.    Officers showed happiness when discussing force used against civilians

during the protests.

       83.    A Unit 1281 officer joked about “hunting” civilians that evening.

       84.    Officers used 40mm rounds against civilians for the officers’ enjoyment.

       85.    Earlier in the evening, Sgt. Bittell asked his team how they were doing on

“long range” ammunition. An officer smiled, laughed, and responded that it was “very

effective.”

       86.    Another officer near Sgt. Bittell saw an officer’s broken baton and said

“that’s outstanding,” showing joy at the force that would have caused the baton to break.

       87.    Before encountering Mr. Stallings, Sgt. Bittell discussed tactics with another

officer. The officer complained that civilians were “p*****s” and explained that “[officers]

get within thirty feet of [civilians] and they run.” Sgt. Bittell agreed and responded,

“Exactly, you got to hit them with the 40[mm rounds].”

       88.    Before heading down Lake St., Unit 1281 officers loaded into the unmarked

van. Sgt. Bittell sat in the front passenger seat. The driver, Officer Osbeck, asked Sgt.

Bittell, “What are we doing with these people on Lake St.?” Sgt. Bittell responded,




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“Shooting them with 40[mm rounds].” After Sgt. Bittell’s comment, an officer in the van

laughed.

       89.     Unit 1281 led a caravan of marked squads. Unit 1281 drove without

emergency lights activated on the unmarked van.

       90.     Unit 1281’s van was used by officers for operations in which officers did not

want the community to know about their presence.

       91.     Without emergency lights active, the van looked like a civilian van. There

was no light bar or markings indicating that it was a law enforcement vehicle.

       92.     Sgt. Bittell directed other squad cars to have no lights or sirens. He said the

operation was “like a slow jog in the park finding people.”

       93.     While driving, a Unit 1281 officer asked Sgt. Bittell to “get the [marked

squad cars] to slow down and stay behind us so we can use the [40mm launchers].” Sgt.

Bittell told other cars to slow down and stay behind the van.

       94.     At 17th Ave. and Lake St., Unit 1281 came upon a large group of people

gathered at a gas station. Sgt. Bittell told his officers to shoot the people outside the gas

station with 40mm rounds. Officers in the back of the van fired many 40mm rounds toward

the civilians as the civilians fled.

       95.     Officers dismounted and pointed 40mm launchers toward civilians at the gas

station. One person at the gas station was a reporter for VICE News. He informed officers

that he was press. A Unit 1281 officer kept his 40mm launcher raised toward the reporter

and ordered him onto the ground. The officer pushed the reporter from a kneeling position

onto the ground. Another officer used chemical irritant spray on the reporter.


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       96.     Sgt. Bittell learned that the people at the gas station were the owner and the

owner’s family and friends who were protecting the station from looters.

       97.     Sgt. Bittell and other supervisors observed improper use of force at the gas

station. Sgt. Bittell and other supervisors took no corrective action to prevent further use

of improper force.

       98.     Sgt. Bittell did not care that his team improperly used force toward persons

protecting a business.

       99.     Sgt. Bittell did not care if Unit 1281 continued to use improper force toward

persons on Lake St.

                           Unit 1281 encounters Mr. Stallings

       100.    Unit 1281 officers loaded back into the van and continued their westbound

patrol down Lake St.

       101.    During the drive, an officer said that the focus was on “sidewalks” and

“runners.”

       102.    At this time, Lake St. was calm and quiet. There were not large groups

present. No one was actively breaking into businesses, starting fires, or causing civil

disruptions.

       103.    The only criminal activity observed by officers on Lake St. was curfew

violation. Officers did not observe looting, rioting, arson, or violent behavior.

       104.    Officers knew that they were to use 40mm rounds only toward persons

committing property damage, looting, or arson, posing a safety threat, or as otherwise




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necessary. Officers knew that violation of curfew, by itself, did not warrant shots with

40mm launchers.

       105.   Lake St. was calm until officers shot at civilians without warning. When shot

at, civilians became alarmed and ran to avoid being shot at further.

       106.   At 15th Ave. and Lake St., Sgt. Bittell observed a group of people standing

on the street corner. The group was not seen committing any criminal activity other than

curfew violation. Sgt. Bittell called out the group to the team so that they could target the

civilians.

       107.   As the van approached, the civilians were walking north on 15th Ave. with

their backs to the unmarked van. Without warning or announcement, Officers Dauble and

Cushenbery fired 40mm rounds toward the civilians, causing nearby civilians to become

alarmed. A Unit 1281 officer shouted, “Go home!” toward the civilians on the street.

       108.   Unit 1281’s shots caused a person in front of the van to run west on Lake St.,

past the Parking Lot where Mr. Stallings was with his group.

       109.   Officers observed that their shots caused people in the area to start running.

       110.   Officers had previously observed 40mm rounds causing civilians to become

alarmed and flee from an area.

       111.   While approaching 14th Ave. on Lake St., Officer Osbeck called out Mr.

Stallings’ group. Officer Osbeck said that a “group to the parking in the north” was

“running.”

       112.   Officer Osbeck called out the group so that they could be targeted and shot

with 40mm rounds.


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       113.    Sgt. Bittell saw Mr. Stallings’ group and directed his team to shoot the group

with 40mm rounds.

       114.    Sgt. Bittell gave his command loudly enough that other officers in the van

could hear him.

       115.    Officer Cushenbery shot a 40mm round toward Mr. Stallings after Sgt.

Bittell’s command.

       116.    Before the shot, the only criminal activity that Unit 1281 officers observed

Mr. Stallings committing was curfew violation, which is a non-violent misdemeanor

offense.

       117.    After being shot at by Officer Cushenbery, Mr. Stallings slightly crouched

as a defensive maneuver.

       118.    Officer Stetson observed that Officer Cushenbery had shot at Mr. Stallings

and that Mr. Stallings’ crouching motion was a response to being shot at.

       119.    Quickly after Officer Cushenbery’s shot, Officer Stetson fired a 40mm round

at Mr. Stallings.

       120.    Officers Cushenbery and Stetson directed shots toward center mass, the

middle of Mr. Stallings’ chest area.

       121.    Officers did not see Mr. Stallings carrying a firearm before officers shot two

40mm rounds at Mr. Stallings.

       122.    During the approach, Officer Dauble had his 40mm launcher raised and was

targeting Mr. Stallings.




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         123.   Officer Dauble was unable to fire immediately because his shot was

disrupted by shots fired by Mr. Stallings in response to the first two 40mm rounds fired at

him.

         124.   Officer Dauble recovered and shot a 40mm round toward Mr. Stallings’

truck.

         125.   Officers shot 40mm marking rounds at Mr. Stallings, which are used to stop

a suspect and identify the suspect for arrest by officers.

         126.   During the Lake St. operations, Officer Sundberg sat next to Officer Dauble.

         127.   Officer Sundberg saw Unit 1281 officers use improper force, including

40mm rounds, toward civilians on Lake St.

         128.   Officer Sundberg took no action to stop or prevent improper use of force by

officers.

         129.   After Mr. Stallings’ shots, officers yelled, “Shots fired!” and dismounted the

van with lethal weapons drawn.

         130.   At the time of dismount, two marked squads were behind the unmarked van.

Although it was night, one marked squad only had running lights but not headlights active.

The other marked squad had neither headlights nor running lights active. The caravan of

other marked squads were several blocks away from the van.

         131.   The marked squads behind the van were not visible to Mr. Stallings when

officers in the van fired 40mm rounds at him.




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                        Mr. Stallings is shot by Unknown Attackers

       132.    Mr. Stallings attended protests opposing police racism and brutality in the

days following Mr. Floyd’s death.

       133.    On May 30, 2020, Mr. Stallings wanted to continue participating in protests.

Mr. Stallings was exercising his First Amendment rights to speak and assemble.

       134.    Earlier that day, Mr. Stallings learned of threats of white supremacists and

other civilians seeking to cause violence at protests.

       135.    Due to these potential threats. Mr. Stallings carried a firearm with him when

he left for the protests.

       136.    On May 30, 2020, Mr. Stallings had a valid permit to carry a firearm. The

firearm carried by Mr. Stallings was properly purchased and registered to him.

       137.    On May 30, 2020, a curfew was in effect generally preventing civilians from

being in public spaces after 8:00 p.m.

       138.    Mr. Stallings tried to drive to Cup Foods but was prevented due to

roadblocks.

       139.    While driving in Minneapolis, Mr. Stallings saw marked police cars

conducting law enforcement operations. Although Mr. Stallings was violating curfew and

was observed by officers, officers did not take any action toward Mr. Stallings.

       140.    When Mr. Stallings could not reach Cup Foods, he followed a line of other

cars hoping that they would lead him to a protest site.

       141.    At approximately 10:18 p.m., Mr. Stallings ended up in a parking lot

(“Parking Lot”) on the corner of 14th Ave. and Lake St. in Minneapolis.


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          142.   While in the Parking Lot, Mr. Stallings saw a caravan of marked MPD squad

cars drive eastbound on Lake St. The cars appeared to be on patrol, and many had

emergency lights active. At least one MPD car shined a spotlight directly at Mr. Stallings.

Although Mr. Stallings was observed violating curfew, the squad cars did not further

interact with Mr. Stallings.

          143.   At approximately 10:39 p.m., Mr. Stallings left the Parking Lot and

proceeded eastbound on Lake St. Mr. Stallings was hoping to find larger groups of

protesters.

          144.   Mr. Stallings walked a few blocks when he met a civilian who warned him

not to go further. The civilian told Mr. Stallings that people were shooting out of a truck.

          145.   Because of the warning, Mr. Stallings returned to the Parking Lot.

          146.   At approximately 10:52 p.m., Mr. Stallings saw a person run past the Parking

Lot from the east on Lake St. The person was running in an alarmed manner and shouting

“they’re shooting, they’re shooting!”

          147.   Mr. Stallings was unable to see down Lake St. from the direction where the

person was running due to a building that obstructed Mr. Stallings’ view.

          148.   A member of Mr. Stallings’ group went to Lake St. and looked in the

direction where the person had run from. The group member quickly turned around and

ran in an alarmed manner.

          149.   Based on the alarm of the two people, Mr. Stallings feared an approaching

threat.




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       150.      Mr. Stallings turned away from Lake St. toward the rear of his pickup truck.

He intended to take cover behind his truck.

       151.      Before Mr. Stallings could get into cover behind his truck, he saw that other

group members were attempting to enter their vehicles.

       152.      Mr. Stallings decided to get into his truck to drive away from the area before

the potential threat arrived. Mr. Stallings turned toward the front of his truck, intending to

get in and flee the area.

       153.      As Mr. Stallings turned toward the front of his truck, a white unmarked van

was coming past a building on Lake St.

       154.      The white van had no apparent markings or unusual equipment. It looked like

a civilian delivery van.

       155.      The van was driving slowly with its sliding door open.

       156.      The interior of the van was dark, and the occupants were dressed in black

tactical gear.

       157.      Without warning or announcement, the occupants of the van fired two shots

toward Mr. Stallings. The shots sounded like gunshots.

       158.      When the shots were fired, Mr. Stallings felt a strong impact to his chest. Mr.

Stallings thought that he had been shot in the chest and had sustained life-threatening

injuries.

       159.      Mr. Stallings became terrified and feared for his life.




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         160.   Based on prior warnings, the context of the situation, the sudden use of force,

the appearance of the van, and other factors, Mr. Stallings believed that civilians were

attacking him with one or more lethal firearms.

         161.   Mr. Stallings raised his firearm, stopped moving toward the front of his truck,

and started to retreat to the rear of his truck.

         162.   Mr. Stallings fired three shots toward the ground near the front of the van as

he moved toward the rear of his truck.

         163.   Mr. Stallings hoped that the shots would disrupt further attacks from the van

and cause the van to flee the area.

         164.   If Mr. Stallings had not been fired at or struck with a round, Mr. Stallings

would not have used force. Mr. Stallings would have entered his truck and left the area.

         165.   After Mr. Stallings fired three shots, he was able to get behind his truck into

cover.

         166.   An occupant in the van fired a third shot toward Mr. Stallings, after Mr.

Stallings was in cover.

         167.   The van stopped, and the occupants dismounted, yelling “shots fired” and

ordering Mr. Stallings and those nearby to get on the ground.

         168.   Mr. Stallings had expected civilian attackers to flee after being fired upon.

The facts that the van slowed down and the occupants yelled commands surprised Mr.

Stallings.

         169.   At that moment, Mr. Stallings realized that the occupants in the van were law

enforcement officers, not civilians.


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                     Officers beat Mr. Stallings during the Arrest

       170.   Mr. Stallings immediately discarded his firearm and laid flat on the ground

with hands above his head.

       171.   Mr. Stallings stayed motionless on the ground for approximately twenty

seconds while officers from the van approached.

       172.   Officers called out that Mr. Stallings’ gun was on the ground.

       173.   Officers called out that Mr. Stallings was on the ground.

       174.   Officer Stetson was the first to make physical contact with Mr. Stallings.

       175.   Officer Stetson could see Mr. Stallings laying face-down on the ground with

his hands visible. Officer Stetson could also see Mr. Stallings’ gun laying near the back of

the truck, out of Mr. Stallings’ possession.

       176.   Although Mr. Stallings had discarded his weapon and was lying in a

submissive position, Officer Stetson repeatedly kicked and struck Mr. Stallings in the head.

       177.   Officer Stetson appeared to have hard-knuckle gloves, which increased the

force applied to Mr. Stallings.

       178.   Sgt. Bittell was the second officer to make physical contact with Mr.

Stallings.

       179.   Sgt. Bittell ran past Mr. Stallings’ firearm, which was on the ground, and

began striking Mr. Stallings in the midsection.

       180.   While officers were striking Mr. Stallings, Mr. Stallings showed no

resistance and minimal defensive movement to shield himself from the strikes.




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       181.    While being struck, Mr. Stallings asked officers to “listen.” However,

officers did not and continued striking him.

       182.    Officers continued to strike Mr. Stallings even after he put his hands behind

his back, as they had commanded.

       183.    Officers struck Mr. Stallings for approximately thirty seconds.

       184.    While Sgt. Bittell and Officer Stetson were striking Mr. Stallings, another

officer repeatedly tased a member of Mr. Stallings’ group despite the group member

surrendering to officers before they made physical contact.

       185.    When the officer who tased the group member later reported the force to Sgt.

Bittell, Sgt. Bittell responded that all officers used force and did not inquire further.

       186.    Sgt. Bittell appeared to condone the improper use of force by the other

officer, as well as use of force generally by all officers involved in the incident.

       187.    Following the incident, Mr. Stallings experienced labored breathing and

injuries related to the shot that struck his chest.

       188.    Mr. Stallings received numerous injuries from the beating during arrest,

including a fractured eye socket and bruising.

       189.    Mr. Stallings received psychological injuries from the incident, including

trauma, paranoia, and anxiety.

       190.    Officer Stetson struck Mr. Stallings so hard that Officer Stetson thought that

he fractured his hand and foot.

       191.    Officer Stetson only stopped striking Mr. Stallings after Sgt. Bittell ordered

him to stop twice and put his hand on Officer Stetson’s hand to stop further strikes.


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        192.   Mr. Stallings later learned that officers had fired 40mm marking rounds at

him.

        193.   One 40mm round struck Mr. Stallings’ chest, leaving green marking paint on

his sweatshirt.

        194.   One 40mm round struck Mr. Stallings’ truck’s door, causing a significant

dent.

        195.   One 40mm round struck the passenger-side rear mirror of the truck, cracking

the casing.

        196.   After the incident, Mr. Stallings was transported to the hospital for evaluation

and treatment. At the hospital, Mr. Stallings was not permitted to privately discuss the

incident or his injuries with medical personnel. Officers stood nearby and listened to

everything that was being discussed.

        197.   After the hospital, Mr. Stallings was interviewed by two MPD officers.

        198.   During the interview, Mr. Stallings asked if the involved officers were ok. A

sergeant told Mr. Stallings that no one was seriously injured. The sergeant reported that

Mr. Stallings appeared relieved after hearing that no officers were seriously hurt. The

sergeant told Mr. Stallings that he appreciated Mr. Stallings’ concern for the involved

officers.

        199.   Mr. Stallings remained in custody after the interrogation.

                  Officers failed to Intervene and Stop Improper Force

        200.   Minneapolis Police Department Policy and Procedure Manual effective on

May 30, 2020 (“MPDPPM”) 5-303.01 stated that officers had a duty “to either stop or


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attempt to stop another sworn employee when force is being inappropriately applied or is

no longer required.”

       201.    During the arrest, nearby officers saw that Mr. Stallings had surrendered and

that force against him was not required while Sgt. Bittell and Officer Stetson struck him.

       202.    Officer Sundberg saw unnecessary force being used against Mr. Stallings and

did not intervene. Officer Sundberg later described Mr. Stallings’ submission as “fighting”

and “struggl[ing]” with officers. Officer Sundberg also reported that Mr. Stallings was

“uncooperative.”

       203.    Sgt. Lokke saw unnecessary force being used against Mr. Stallings and did

not intervene. Sgt. Lokke described Mr. Stallings’ submission as “resisting the efforts [of

officers] to force his hands behind his back.” Sgt. Lokke reported this resistance despite

Mr. Stallings’ physical efforts to comply and Mr. Stallings’ verbal statement that he was

“trying” to comply.

       204.    Sgt. Stenerson saw unnecessary force being used against Mr. Stallings and

did not intervene. Sgt. Stenerson reported that Mr. Stallings was “physically fighting with

multiple swat officers.” Sgt. Stenerson described Mr. Stallings’ conduct as “actively

resisting arrest.”

       205.    While Mr. Stallings was being struck, additional officers saw unnecessary

force being used and did not intervene. These officers include the Non-intervening

Defendants, John Does 1-5.




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       206.   Officers also observed a pattern of unnecessary 40mm round usage that

culminated in shots fired toward Mr. Stallings. Officers failed to intervene and prevent

these shots from occurring or continuing.

       207.   Officers’ failure to intervene and report improper use of force violated MPD

policies.

                             MPD Policies limit Use of Force

       208.   MPDPPM 9-103(A) directed that officers must issue a citation in lieu of

arrest for misdemeanor offenses unless an arrest was necessary to prevent bodily harm to

the accused or another, to prevent further criminal conduct, or because of substantial

likelihood that the accused will fail to respond to a citation. In that situation, officers must

be able to articulate why an arrest was necessary rather than a citation.

       209.   Officers are trained that they may not use more force than necessary for a

lawful purpose.

       210.   Officers are trained in applicable legal and constitutional requirements for

use of force generally and during arrest.

       211.   Unit 1281 officers were aware of legal and constitutional requirements and

limits regarding their use of force toward civilians.

       212.   Officers were aware that force was least justified against non-violent

misdemeanants.

       213.   Unit 1281 officers were aware that penalties and negative consequences

could occur due to their improper use of force.




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       214.   MPDPPM 5-300(A) stated that “Sanctity of life and the protection of the

public shall be the cornerstones of the MPD’s use of force policy.”

       215.   MPDPPM 5-301.01 stated that “Based on the Fourth Amendment’s

‘reasonableness’ standard, sworn MPD employees shall only use the amount of force that

is objectively reasonable in light of the facts and circumstances known to that employee at

the time force is used. The force used shall be consistent with current MPD training.”

       216.   MPDPPM 5-303 required officers to use reasonable force toward civilians.

It required officers to consider the Graham v. Connor factors, taking into account the

severity of the crime at issue, whether the suspect posed an immediate threat to the safety

of the officers or others, and whether the suspect was actively resisting arrest or attempting

to evade arrest by flight. Officers were directed to “write a detailed, comprehensive report

for each instance in which force was used.”

       217.   MPDPPM 5-304(A) directed officers to “consider verbally announcing their

intent to use force” as an alternative or precursor to the actual use of force.

       218.   MPDPPM 5-304(B) directed officers to “use de-escalation tactics to gain

voluntary compliance and seek to avoid or minimize use of physical force.” Officers were

directed to “slow down and stabilize the situation” so that more time, options, and resources

would be available. De-escalation tactics included communication, such as advisements

and warnings, and avoidance of physical confrontation unless immediately necessary.

       219.   MPDPPM 5-305(A) directed that officers could use deadly force only when

necessary. Deadly force was authorized to protect an officer or another from apparent death

or great bodily harm, to arrest or capture a felony suspect involving the use or threatened


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use of deadly force, or to arrest or capture a felony suspect when the officer reasonably

believed that the suspect would cause death or great bodily harm if apprehension was

delayed.

       220.   MPDPPM 5-305(B) directed officers to consider the constitutional

requirements explained in Tennessee v. Garner. Officers were directed that apprehension

by use of deadly force is subject to Fourth Amendment reasonableness requirements.

Officers were directed that the use of deadly force to prevent the escape of all felony

suspects, whatever the circumstances, is constitutionally unreasonable.

       221.   MPDPPM 5-305(C) required officers to recognize that the use of less-lethal

weaponry may constitute deadly force.

       222.   MPDPPM 5-305(F) required officers to use reasonableness, sound tactics,

and available options during encounters to maximize the likelihood that they could safely

resolve the situation. It further explained that a “lack of reasonable or sound tactics [could]

limit options available to officers, and unnecessarily place officers and the public at risk.”

       223.   MPDPPM 5-312 stated that officers were to avoid using less-lethal weaponry

in civil disturbances unless there was an immediate need to protect oneself or another from

apparent physical harm or if authorized by the on-scene incident commander.

       224.   MPDPPM 5-317(I)(A) stated that “combative, non-compliant, armed, or

otherwise violent subjects cause handling and control problems that require special training

and equipment.” The MPD adopted a “less-lethal force philosophy to assist with the de-

escalation of these potentially violent confrontations.”




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       225.   MPDPPM 5-317(II) defined a 40mm less-lethal round as a “Direct fire round

used in situations where maximum deliverable energy is desired for the incapacitation of

an aggressive, non-compliant subject.”

       226.   MPDPPM 5-317(III)(B), which did not apply to SWAT officers, stated that

a 40mm less-lethal round should be considered “a level slightly higher than the use of an

impact weapon and less than deadly force when deployed to areas of the suspect’s body

that are considered unlikely to cause death or serious physical injury.” It directed officers

to “consider any risks to the public and themselves” before using less-lethal weaponry. It

also directed officers to consider “whether the subject could be controlled by any other

reasonable means without unnecessary risk to the subject, officers, or to the public.” Non-

SWAT officers were directed to refrain from 40mm launcher use for crowd management

purposes.

       227.   MPDPPM 5-317(IV)(B) described target areas for 40mm round use. It stated

that the “primary target areas for the 40mm less-lethal round should be the large muscle

groups in the lower extremities including the buttocks, thigh, knees. Alternative target areas

include the ribcage area to the waist, and the larger muscle areas of the shoulder areas.

Areas to avoid when using the 40mm less-lethal round are the head, neck, spinal cord, groin

and kidneys.” It required officers to be aware that “the delivery of the 40mm impact

projectiles to certain parts of the human body can cause grievous injury that can lead to a

permanent physical or mental incapacity or possible death. Areas susceptible to death or

possible severe injury are the head, neck, throat and chest (in the vicinity of the heart).




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Unless deadly force is justified, officers should avoid the delivery of 40mm impact

projectiles to any of the above-described areas.”

       228.   MPDPPM 5-317(IV)(C)(1) stated that “40mm launchers can be used when

the incapacitation of a violent or potentially violent subject is desired. The 40mm launcher

can be a psychological deterrent and physiological distraction serving as a pain compliance

device.”

       229.   MPDPPM 5-317(IV)(C)(3) stated that “It is important that whenever

possible, all officers involved and possible responding officers know that a 40mm less-

lethal projectile is being deployed so they do not mistake the sight and noise from the

deployment as a live ammunition discharge.” It also stated that “40mm launchers have an

orange barrel indicating they are the less-lethal platform.”

       230.   MPDPPM 5-317(IV)(C)(4) required officers to yell “Code Orange!” prior to

and during firing when using 40mm launchers.

                              Officers use Improper Force

       231.   Officer Cushenbery fired a 40mm round toward Mr. Stallings’ group. Officer

Cushenbery directed his shot toward the target’s torso.

       232.   Officer Cushenbery claimed that he fired the shot to disperse the group.

       233.   Officer Cushenbery did not see anyone in the Parking Lot moving until after

he fired his 40mm round.

       234.   When Officer Cushenbery fired, Unit 1281 officers had not observed a safety

threat from the group in the Parking Lot.




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         235.   Officer Cushenbery knew that firing a 40mm round out of an unmarked van

toward unsuspecting civilians could create a safety risk. Officer Cushenbery knew that a

person fired upon in that manner may feel threatened and may use responsive force to

protect against an apparent lethal attack. This would result in increased violence and put

officers and civilians in increased risk of harm.

         236.   Officers failed to use available alternatives to interact with Mr. Stallings’

group.

         237.   Unit 1281 officers knew that civilians would flee at the mere sight of law

enforcement.

         238.   Unit 1281 did not use a conspicuous presence or announce their status as law

enforcement to disperse Mr. Stallings’ group.

         239.   Sgt. Bittell knew that officers could have used a verbal command to disperse

Mr. Stallings’ group. Officers did not use verbal commands to disperse the group.

         240.   Sgt. Bittell knew that the van’s emergency lights could have been activated

when coming upon Mr. Stallings’ group. Officers did not activate the emergency lights to

disperse or stop the group.

         241.   Officers could have waited and observed Mr. Stallings’ group before using

force. Officers did not make additional observations to see if substantial criminal activity

or a safety threat existed or to determine whether use of force was necessary.

                    Officers Conceal and Misrepresent Material Facts

         242.   After the incident, other officers quickly responded to the Parking Lot. The

officers asked members of Unit 1281 what happened.


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          243.   Sgt. Bittell initially told other officers that Mr. Stallings “shot at [officers]”

and then “gave up.”

          244.   When another officer asked Sgt. Bittell how Mr. Stallings was injured, Sgt.

Bittell said that Mr. Stallings was “resisting when [officers] came up on him.” The other

officer did not question Sgt. Bittell’s claim and did not investigate further.

          245.   When a third officer asked what happened, Sgt. Bittell claimed that Mr.

Stallings “started to give up” but then “resisted.” The officer did not question Sgt. Bittell’s

claim and did not investigate further.

          246.   At the scene, multiple officers noted that Mr. Stallings was having breathing

issues.

          247.   At the time, Mr. Stallings had green paint on his chest from a 40mm marking

round. Despite the paint mark, no officer reported that the breathing issues were likely from

being struck by a 40mm round. In fact, no officer reported that Mr. Stallings had been

struck by a 40mm round at all.

          248.   When officers at the scene were asked whether anyone had “shot,” officers

did not admit that they shot at Mr. Stallings with 40mm rounds.

          249.   An officer evaluating Mr. Stallings on the scene told other officers that the

breathing issues were probably due to narcotics use. The officer failed to investigate the

green paint mark on Mr. Stallings’ chest.

          250.   When discussing Mr. Stallings’ condition, an officer referred to Mr.

Stallings’ injuries as “fakeitis.”




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       251.     Officers did not document or report injuries suffered by Mr. Stallings when

he was shot by a 40mm round or during the arrest when Sgt. Bittell and Officer Stetson

beat him.

       252.     Commander Folkens served as a police commander on May 30, 2020. In that

role, Commander Folkens was responsible for planning and supervision of MPD activities.

       253.     While the Parking Lot was being processed by investigators, Commander

Folkens said that it was “nice to hear” that officers were “hunting people” that evening.

Commander Folkens then said “f*** these people,” referring to the civilians that officers

were hunting.

       254.     Other officers, besides Commander Folkens, referred to “hunting” and

“ambushing” civilians that evening.

       255.     Hunting-style tactics include concealing approach and initiating a surprise

attack on an unsuspecting target.

       256.     The manner in which MPD officers attacked Mr. Stallings was consistent

with the hunting operation referenced by Commander Folkens.

       257.     Earlier in the evening, a member of Unit 1281 joked that they were “hunting

activists.”

       258.     Commander Folkens described a plan to hunt civilians by MPD officers on

May 30, 2020. Commander Folkens demonstrated knowledge and approval of these

hunting operations.

       259.     Commander Folkens expressed malice toward those being hunted by MPD

officers.


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       260.   The day after the incident, involved officers gave verbal statements and

wrote reports. Officers’ accounts were contradictory and did not match the incident as

captured on video recordings. Officers misstated their directives and gave varying accounts

for their use of force. Officers exaggerated the threat presented by Mr. Stallings before

force was used and during his arrest.

       261.   Officers did not accurately describe their concealed appearance, their initial

use of force toward Mr. Stallings, and the fact that Mr. Stallings had been struck by a 40mm

round in the chest.

       262.   Instead, officers suggested that Mr. Stallings provoked officers, that officers’

appearance was conspicuous, and that Mr. Stallings continued to present a threat during

his arrest.

       263.   Officers knew that they used unjustified force against Mr. Stallings during

the initial encounter and arrest.

       264.   In order to avoid negative consequences due to improper force, officers

provided misleading and false statements to justify or conceal their use of force.

       265.   Officers misrepresented and concealed evidence to implicate Mr. Stallings

and impair his ability to prove self-defense.

       266.   Other officers relied on these false and misleading statements to steer the

investigation, even when the statements were facially false or conflicted with other

evidence, such as video recordings.

       267.   Sgt. Jensen and Sgt. Heyer led the investigation of the incident involving Mr.

Stallings and Unit 1281. They acted as investigators themselves and supervised other


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officers participating in the investigation. Sgt. Lokke, Commander Folkens, and other

officers also participated in the investigation.

       268.   Video recordings showed that statements and reports made by involved

officers were false.

       269.   Video recordings showed that officers failed to report material facts.

       270.   Video recordings showed that officers used improper force against Mr.

Stallings.

       271.   Video recordings showed an intentional effort to conceal Unit 1281’s

appearance on Lake St. so that officers could shoot at civilians with 40mm rounds.

       272.   Officers had physical evidence, including Mr. Stallings’ sweatshirt, which

showed that Mr. Stallings was struck by a round before using responsive force.

       273.   These facts, as well as others, were not documented by investigators.

Investigators did not further investigate these facts.

       274.   Officers who responded to the Parking Lot after the incident expressed

doubts about the narrative put forth by Unit 1281 officers. Responding officers expressed

concerns about allegations that Mr. Stallings tried to ambush or attack persons that he knew

were officers. Officers at the scene suggested that this narrative was not credible.

       275.   These doubts were not reported by officers. These doubts were not further

investigated, and evidence supporting these doubts was not collected or documented.

       276.   Sgt. Jensen reported that evidence supported Officer Dauble’s statement

provided in an interview. However, video evidence did not match Officer Dauble’s

statement.


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       277.   For example, Officer Dauble claimed that Unit 1281 was patrolling on Lake

St. to clear out looters and people out after curfew. Video recordings showed that Unit

1281 was directed to shoot at people on Lake St. with 40mm rounds.

       278.   Officer Dauble claimed that large groups were looting and throwing rocks at

Unit 1281 on Lake St. Video recordings do not show this activity occurring.

       279.   Officer Dauble claimed that he fired a 40mm round in response to a

crouching motion made by Mr. Stallings. Officer Dauble claimed that he thought that Mr.

Stallings was going to throw something at the van.

       280.   Video recordings show that Officer Osbeck called out Mr. Stallings’ group

to be shot with 40mm rounds. Sgt. Bittell ordered officers to shoot Mr. Stallings’ group.

Officer Cushenbery shot at Mr. Stallings, which caused Mr. Stallings to crouch in response.

Officer Stetson then shot at Mr. Stallings. Mr. Stallings fired shots toward the van while

getting into cover. Officer Dauble fired at Mr. Stallings’ truck after Mr. Stallings had fired

and was in cover.

       281.   Investigating officers failed to document evidence of improper conduct by

officers.

       282.   Investigating officers failed to document evidence supporting the exercise of

self-defense by Mr. Stallings.

       283.   Investigating officers failed to follow up on leads suggesting that Mr.

Stallings was acting in self-defense.




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        284.   Upon information and belief, involved officers were not investigated for

misconduct during the pendency of the criminal proceedings, which lasted more than a

year.

        285.   Upon information and belief, no disciplinary action was taken toward any

involved officers during the pendency of the criminal proceedings.

        286.   Sgt. Jensen included false and misleading facts in the statement of probable

cause in the criminal complaint against Mr. Stallings. Sgt. Jensen omitted material

exculpatory evidence that undermined and contradicted allegations made in the complaint.

                   Mr. Stallings is acquitted of all Criminal Charges

        287.   Mr. Stallings was charged with eight counts of criminal activity, including

attempted murder and assault. The complaint’s statement of probable cause included false

and misleading statements given by Unit 1281 officers suggesting that Mr. Stallings

provoked the use of force by officers, Mr. Stallings had notice that the people in the van

were officers, and Mr. Stallings resisted arrest and continued to pose a threat to officers.

        288.   Mr. Stallings was taken into custody and was required to post bail to secure

his release.

        289.   Due to the criminal charges, Mr. Stallings was deprived of property,

including his truck, for the duration of the proceedings. Mr. Stallings also lost his ability

to possess firearms.

        290.   After charges were filed, the Hennepin County Attorney’s Office issued a

press release describing the allegations in the criminal complaint. The press release

contained false and misleading statements given by the involved officers. The press release


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omitted the first shot fired by officers toward Mr. Stallings and the fact that Mr. Stallings

was hit in the chest with a 40mm round. The press release claimed that Mr. Stallings “ran

away” requiring officers to “searc[h] for him.” The press release claimed that officers

“struggle[d]” with Mr. Stallings during the arrest. The press release also falsely stated that

Mr. Stallings was not injured during the incident.

       291.   Many news outlets reported accounts consistent with the false and

misleading reports given by the involved officers. Mr. Stallings’ case received national

coverage.

       292.   Due to the false and misleading statements of the involved officers, Mr.

Stallings’ picture and charges were used as part of a national advertisement in support of

the President Trump reelection campaign. The advertisement used Mr. Stallings’ booking

photo and labelled him an “attempted cop killer.”

       293.   During criminal proceedings, officers continued to report false and

misleading facts.

       294.   After a jury trial, Mr. Stallings was acquitted of all charges.

       295.   Dissemination of the false narrative that Mr. Stallings attempted to kill

officers has continued even after his acquittal. For example, on September 8, 2021,

Minnesota State Senator Mark Koran promoted a video on Facebook that stated that

“DEMOCRATS WANT to keep bailing out violent criminals” with a photo of Mr.

Stallings and a description of the false allegations used during his prosecution.




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       296.   Due to the criminal charges, Mr. Stallings was unable to speak publicly about

the events or rebut the false allegations while the matter was pending. Such comments

would have impaired Mr. Stallings’ right to remain silent during the criminal proceedings.

       297.   Due to the incident, false statements, and subsequent events, Mr. Stallings’

reputation has been irreparably harmed.

       298.   Mr. Stallings has incurred a stigma due to the allegations and criminal

charges made against him, which were premised on false and misleading accounts by

involved officers.

       299.   Mr. Stallings has endured physical pain and suffering due to his encounter

with officers on May 30, 2020.

       300.   Mr. Stallings has experienced fear, terror, and psychological suffering due to

his encounter with officers on May 30, 2020.

       301.   Mr. Stallings’ participation in further protests against police racism and

brutality was impaired due to his encounter with officers on May 30, 2020.

       The MPD has Customs and Patterns of violating Constitutional Rights

       302.   Defendant City of Minneapolis has informal policies and customs of

violating the constitutional rights of individuals in a similar manner as the violations

suffered by Mr. Stallings. The violations by the MPD have been widely reported and were

generally known before and at the time of the incident involving Mr. Stallings.

       303.   The City of Minneapolis had notice of patterns of unconstitutional actions by

its officers. It was deliberately indifferent and tacitly authorized these violations. Due to




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insufficient supervision and lack of training, Mr. Stallings was injured as part of these

patterns.

            The MPD uses Improper Force against Protesters and Journalists

       304.    The MPD has a custom of improperly using 40mm rounds and other force

toward civilians.

       305.    Supervisors ordered subordinate officers to carry out an operation of violence

and force toward non-violent curfew violators and civilians who were exempt from the

curfew.

       306.    Supervisors ordered subordinate officers to avoid non- or less-forceful

measures to engage with suspected curfew violators and other civilians.

       307.    Officers carried out violent operations throughout May 30, 2020 and the

surrounding days at multiple locations.

       308.    These incidents have been documented in other lawsuits alleging

constitutional violations by the MPD during the George Floyd protests.

       309.    Officers carried out violent operations without any effort by supervisors to

restrict, alter, or prevent improper force used against civilians.

       310.    The MPD failed to adequately train officers as to the proper circumstances

and methods in which to use 40mm rounds toward civilians.

       311.    Due to improper training, officers believed that they could fire 40mm rounds

at peaceful curfew violators without trying less-forceful alternatives, announcements, or

warnings.




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       312.   Due to improper training, officers believed that they could target a civilian’s

torso with 40mm rounds in circumstances other than those in which deadly force was

authorized.

       313.   The MPD failed to provide adequate supervision of officers using 40mm

rounds.

       314.   Due to inadequate supervision, the MPD did not correct or prevent improper

40mm round use.

       315.   The MPD has a custom of improperly using crowd-control weaponry to

violate a person’s constitutional rights.

       316.   In May and June 2020, during the George Floyd protests, the MPD

repeatedly used 40mm rounds and other crowd-control weapons toward persons who were

not engaged in significant criminal activity or posing a threat to the safety of officers or

others. Officers used force without announcement or warning and did so in a manner that

caused serious injury and risk of death. Officers did so on multiple days and in multiple

incidents. Several incidents were the subject of reporting. The incidents were also widely

shared on social media and generated significant complaints regarding officers’ conduct.

       317.   On May 29, 2020, an MPD officer fired a less-lethal round and struck a

protester in the face. Officers fired without a verbal command, and the protester was only

violating curfew at the time. 5


5
  Randy Furst, College student sues city of Minneapolis over eye injury from projectile
during Floyd protests, STARTRIBUNE, Sep. 15, 2020,
https://www.startribune.com/college-student-sues-city-of-minneapolis-over-eye-injury-
from-projectile-during-floyd-protests/572420452/.

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       318.    On May 31, 2020, an MPD officer fired a less-lethal round and struck a

protester in the face. Officers fired without warning or provocation. This and other similar

incidents led to more than 400 complaints against the MPD during the protests. 6

       319.    On May 30, 2020, an MPD officer pushed a reporter to the ground at a gas

station. Another officer pepper-sprayed the reporter. The use of force occurred without

existence of significant criminal activity or a safety threat to officers. 7

       320.    On or about June 2, 2020, officers who appeared to be MPD officers fired

less-lethal projectiles at a resident on their front porch. The officer fired without evidence

of significant criminal activity or the existence of a safety threat. 8

       321.    On May 30, 2020, an MPD officer shot a less-lethal projectile at a reporter

who had announced her status. The officer fired without evidence of significant criminal

activity or the existence of a safety threat from the reporter. 9




6
  Liz Sawyer & Libor Jany, Complaints skyrocket over police response to George Floyd
protests, STARTRIBUNE, July 2, 2020, https://www.startribune.com/complaints-
skyrocketing-in-wake-of-mpls-police-response-to-floyd-protests/571608232/.
7
  Michael Anthony Adams, I Told Riot Cops I’m a Journalist. They Forced Me to the
Ground and Pepper-Sprayed Me in the Face, VICE NEWS, May 31, 2020,
https://www.vice.com/en/article/y3zd7g/i-told-riot-cops-im-a-journalist-they-forced-me-
to-the-ground-and-pepper-sprayed-me-in-the-face.
8
  Joshua Bote, ‘Light ‘em up’: Minneapolis officers seen firing paint rounds at people on
their porch, USA TODAY, June 2, 2020,
https://www.usatoday.com/story/news/nation/2020/06/02/george-floyd-protest-
minneapolis-cops-shoot-paint-people-porch/3123781001/.
9
  Paul Walsh, Photographer amid Minneapolis unrest sues, says officers blinded her in
eye with nonlethal shot, STARTRIBUNE, June 16, 2020,
https://www.startribune.com/photographer-sues-says-officers-blinded-her-in-eye-with-
nonlethal-shot-during-mpls-unrest/571266322/.

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        322.      These activities are also consistent with improper use of crowd-control

weapons by the MPD during other protests.

        323.      On May 13, 2015, MPD officers used crowd-control weapons against a group

of protesters who were not engaged in significant criminal activity or posing a safety threat

to officers. 10

        324.      On November 15, 2015, MPD officers used crowd-control weapons against

protesters who did not move out of an area quickly enough. Officers used force against

compliant protesters who were not presenting a safety threat. 11

        325.      Minneapolis City Council members and other figures publicly criticized the

MPD’s excessive force against protesters. On or about May 28, 2020, Minneapolis City

Council member Jeremiah Ellison said that the “police in the city failed us” after using

improper force against protesters. 12

        326.      The officers’ improper targeting and use of 40mm rounds at Mr. Stallings is

consistent with 40mm round shots by other MPD officers throughout the George Floyd

protests. Officers targeted non-violent civilians and used force without warning or



10
   Nicole Norfleet & Paul Walsh, Minneapolis mayor and police chief ask for witnesses
to come forward in protest investigation, STARTRIBUNE, May 15, 2015,
https://www.startribune.com/mpls-officials-want-witnesses-for-protest-
investigation/303757551/.
11
   Eric Roper, Lawsuit claims police used excessive force during protest at Fourth
Precinct, STARTRIBUNE, Jan. 6, 2016, https://www.startribune.com/lawsuit-claims-
police-used-excessive-force-during-protest-at-fourth-precinct/363690041/.
12
   Andy Mannix & Miguel Otárola, Minneapolis council member: ‘Police in the city
failed us’ in protest response, STARTRIBUNE, May 28, 2020,
https://www.startribune.com/minneapolis-council-member-ellison-police-in-the-city-
failed-us-last-night/570803722/.

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necessity. Officers targeted high-risk areas, such as center mass and heads, sometimes

causing severe injury.

       327.   Shots to persons’ chests and heads were widely reported during the George

Floyd protest, providing notice to the MPD that officers were improperly targeting civilians

with 40mm rounds.

       328.   The MPD did not appear to undertake training to prevent improper 40mm

use toward civilians, such as Mr. Stallings.

       329.   Other officers, including supervisors, observed improper 40mm round use

toward civilians during the George Floyd protests.

       330.   The MPD did not provide adequate supervision to prevent improper 40mm

use toward civilians, such as Mr. Stallings.

                   MPD Officers use Excessive Force during Arrests

       331.   The MPD has a custom of using excessive force during arrests. This custom

includes the use of strikes or other force against persons who have submitted, are

restrained, or are otherwise posing no safety or flight risk.

       332.   Officers have used improper force multiple times over multiple years. Since

1995, MPD officers punched, kicked, or assaulted at least eleven suspects who were

restrained. 13 On May 25, 2020, officers continued this pattern when Derek Chauvin used

improper and excessive force to murder George Floyd during an arrest.


13
  Libor Jany, Chauvin case shines spotlight on Minneapolis police history of
mistreatment of handcuffed suspects, STARTRIBUNE, Apr. 2, 2021,
https://www.startribune.com/chauvin-case-shines-spotlight-on-minneapolis-police-
history-of-mistreatment-of-handcuffed-suspects/600041721/.

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       333.      The pattern of excessive force used by the MPD during arrests and, in

particular, the improper force used during Mr. Floyd’s arrest received substantial reporting

and attention.

       334.      On May 30, 2020, Officer Stetson used excessive force toward a protester

who had submitted to officers by striking the protester in the head with a 40mm launcher.

       335.      Officers arresting another member of Mr. Stallings’ group used excessive

force by tasing him repeatedly after he had submitted.

       336.      Other officers, including supervisors, observed these and other uses of

excessive force by officers against suspects who had surrendered or were restrained.

       337.      Other officers, including supervisors, observed officers using excessive force

toward Mr. Stallings during his arrest. Those officers did not report the excessive force and

did nothing to prevent or deter it from occurring.

       338.      The MPD failed to provide adequate training or supervision to prevent

officers from using improper force during arrests toward suspects who had submitted or

surrendered, such as Mr. Stallings.

                        The MPD improperly targeted Black Persons

       339.      The MPD has a custom of improperly targeting and using excessive force

against Black people. 14 Data showed that African-Americans made up about 20 percent of

Minneapolis’s population, yet they were more likely to be pulled over, arrested, and have



14
  Matt Furber, John Eligon, & Audra D.S. Burch, Minneapolis Police, Long Accused of
Racism, Face Wrath of Wounded City, N.Y. TIMES, May 27, 2020, updated April 5, 2021,
https://www.nytimes.com/2020/05/27/us/minneapolis-police.html.

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force used against them than white residents. Black people accounted for more than 60

percent of victims in Minneapolis police shootings from late 2009 through May 2019. In

2018, an MPD officer fatally shot a Black man who was fleeing from police. In 2015, an

MPD officer fatally shot a Black man who was in custody on the ground. In 2020, MPD

officers used excessive force resulting in the death of Mr. Floyd, who was a Black man.

       340.   A news investigation found that MPD officers used force against Black

people at seven times the rate of white people. Although Minneapolis’s population was

only 20% Black, nearly 60% of incidents involving police use of force involved a Black

person. A professor studying the MPD described their operations as “a living laboratory on

everything you shouldn’t do when it comes to police use of force.” The professor found “a

pattern that goes back at least a generation.” 15

       341.   In 1989 a Black couple died of smoke inhalation when MPD officers flash-

bombed a home during a raid. In 2002, a Black boy was hit in the arm by a bullet fired by

officers. In 2012, a Black man was beaten by off-duty MPD officers who used racial slurs.

In 2015, a Somali-American was pulled over by an officer who threatened to break the

Somali-American’s legs. 16




15
   Richard A. Oppel Jr. & Lazaro Gamio, Minneapolis Police Use Force Against Black
People at 7 Times the Rate of Whites, N.Y. TIMES, June 3, 2020,
https://www.nytimes.com/interactive/2020/06/03/us/minneapolis-police-use-of-
force.html.
16
   Amudalat Ajasa & Lois Beckett, Before Chauvin: decades of Minneapolis police
violence that failed to spark reform, THE GUARDIAN, Apr. 25, 2021,
https://www.theguardian.com/us-news/2021/apr/25/minneapolis-police-incidents-
promises-reform.

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       342.   The George Floyd protests were comprised of Black civilians and others who

opposed systemic racism against Black persons. The MPD’s response to the protesters was

more forceful and severe than responses to other protests that involved non-racial issues or

were comprised primarily of white participants. 17

       343.   The disproportionate use of excessive force toward Black persons by the

MPD combined with evidence of racial animus by officers demonstrates a custom of

improperly targeting and using force against Black persons and their allies.

       344.   On May 30, 2020, supervisors observed officers targeting Black people with

force during the George Floyd protests. In fact, the use-of-force supervisor, Lt. Mercil,

suggested that non-white civilians were more likely to commit looting and arson based

solely on their race.

       345.   During the George Floyd protests, officers falsely claimed that Black

civilians were looters and rioters without actual evidence to support those suspicions. Mr.

Stallings was also the subject of racially-motivated suspicion, and he was targeted with

force due to his race.




17
   Li Zhou & Kainaz Amaria, These photos capture the stark contrast in police response
to the George Floyd protests and the anti-lockdown protests, VOX, May 27, 2020,
https://www.vox.com/2020/5/27/21271811/george-floyd-protests-minneapolis-lockdown-
protests; Bill Strande, One arrest, one citation outside Trump rally in Minneapolis,
KARE 11, Oct. 10, 2019, updated Oct. 11, 2019,
https://www.kare11.com/article/news/local/trump-protesters-outside-target-center-
minneapolis/89-8c9d0ec8-7257-4694-9a0a-9bbfd038f623.

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       346.   The MPD failed to adequately train officers to avoid racially-motivated

suspicion and use of force. The MPD also failed to provide adequate supervision to avoid

racially-discriminatory enforcement and use of force.

    MPD Officers fail to Report, Investigate, or Punish Constitutional Violations

       347.   The MPD has a custom of permitting officers to make self-serving and false

statements in reports regarding excessive force or other violations of constitutional rights.

The MPD has a custom of failing to investigate or discipline officers when there is evidence

suggesting that a violation of constitutional rights occurred.

       348.   These customs include concealing an officer’s improper use of force and the

fabrication of aggression or threat on behalf of a suspect to falsely justify the force used by

officers.

       349.   These customs allow officers to violate constitutional rights with impunity.

By permitting these customs, the MPD encourages and condones constitutional violations,

such as those that occurred to Mr. Stallings.

       350.   Over multiple years and in multiple incidents, officers have provided

misleading or false reports to conceal improper use of force. Officers have also exaggerated

the threat posed by a suspect to falsely justify use of force.

       351.   In 2006, MPD officers falsely claimed that a suspect resisted and tried to grab

an officer’s gun. Officers fatally shot the suspect. It was later found that officers provided

false and misleading testimony to support their use of force. In 2008, an officer punched a

man and falsely claimed that the man was resisting. In 2009, officers failed to report an

illegal strip search of a suspect. An investigator in that incident stated that officers would


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leave information out of reports “if they knew that those actions…violated somebody’s

rights.” In 2010, officers provided a false reason for a traffic stop and then failed to report

significant force used against a suspect during the arrest. In 2013, an officer falsely claimed

that frosty road conditions led his vehicle to strike a pedestrian. In 2020, the MPD put out

false statements describing officers’ encounter with Mr. Floyd. That statement minimized

officers’ use of force that led to Mr. Floyd’s death. Since the early 2000s, approximately

25 legal settlements have been paid by the City of Minneapolis in response to allegations

of officers falsifying reports or omitting details regarding use of force. In at least six cases,

officers continued to provide false or misleading statements until contradicted by video

evidence or a judge’s ruling. Despite the false statements, officers are often not disciplined

and are permitted to continue working without adverse consequences. In some instances,

other officers turned off recorders or otherwise interfered with investigations of officers’

wrongdoing. 18

       352.   The MPD has failed to adequately discipline officers for constitutional

violations. In 2012, MPD officers failed to report use of force against a suspect in custody,

including kneeling on her back until she could not breathe and then dragging her out by

handcuffs. One officer was suspended for only 10 hours and was later promoted. In 2014,

an MPD officer, while working off-duty, used chemical irritant on a bar manager and hit

several other people nearby. The officer was suspended for 10 hours and prohibited from


18
  Ryan Raiche & Joe Augustine, JUSTIFYING THE FORCE: Initial description of
George Floyd’s death fits larger pattern at MPD, KSTP, July 21, 2020, updated Apr. 16,
2021, https://kstp.com/news/justifying-the-force-initial-description-of-george-floyds-
death-fits-larger-pattern-at-minneapolis-police-department/5801211/.

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certain off-duty work for 90 days. The officer was subsequently promoted to sergeant. In

2016, MPD officers punched a handcuffed suspect in the face. Disciplinary action took

more than two years, during which the officers were promoted to training officers. The

police chief’s attempt to terminate the officers was overturned by an arbitrator. Current and

former MPD officers described knowledge of a pattern of problem officers and the absence

of effective measures to curb or eliminate problem behavior. 19

       353.   MPD officers’ use of force toward protesters in May 2020 and other incidents

have resulted in few investigations or disciplinary actions. The MPD is aware of the issue

but has failed to take effective measures to correct it. 20

       354.   Officers who encountered Mr. Stallings failed to accurately describe the

nature and use of 40mm rounds toward Mr. Stallings in statements and reports.

       355.   Officers concealed that they were explicitly directed to fire at civilians on

Lake St. with 40mm rounds.

       356.   Officers claimed that Mr. Stallings made a threatening crouching motion

while failing to report that Mr. Stallings’ crouching motion was in response to an officer

firing a 40mm round in his direction.




19
   Max Nesterak & Tony Webster, The Bad Cops:How Minneapolis protects its worst
police officers until it’s too late, MINNESOTA REFORMER, Dec. 15, 2020,
https://minnesotareformer.com/2020/12/15/the-bad-cops-how-minneapolis-protects-its-
worst-police-officers-until-its-too-late/.
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   Dennis Wagner, Minneapolis Police Injured Protesters With Rubber Bullets. The City
Has Taken Little Action., KAISER HEALTH NEWS, May 26, 2021,
https://khn.org/news/article/george-floyd-protests-what-happened-police-who-shot-
rubber-bullets/.

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       357.    Officers claimed that Mr. Stallings fired toward the van without any

provocation.

       358.    Officers falsely claimed that Mr. Stallings resisted during arrest.

       359.    When another officer reported use of force during the arrest of a member of

Mr. Stallings’ group to Sgt. Bittell, Sgt. Bittell condoned the use of force and suggested

that the use of force was, in fact, permissible.

       360.    MPD policies required officers to document Mr. Stallings’ injuries that he

received due to officers’ use of force. Officers failed to document or report said injuries.

       361.    MPDPPM 7-810.01 defined a critical incident as an incident involving the

use of deadly force by or against an MPD officer, death or great bodily harm to an officer,

death or great bodily harm to a person who is in the custody or control of an officer, or any

action by an officer that causes or is intended to cause death or great bodily harm.

       362.    MPDPPM 4-223(IV)(A)(7)(b) directed that all involved, witness, and escort

officers in a critical incident must leave their BWCs activated on scene until directed by

the Incident Commander. Deactivation was only permitted after Public Safety Statements

were completed.

       363.    MPDPPM 7-810.02 required officers to immediately notify that a critical

incident has occurred. Upon that notification, the Incident Commander was required to

determine the identify of Involved and Witness Officers, take a Public Safety Statement

from Involved Officers, assign Escort Officers to Involved and Witness Officers, keep the

Involved and Witness Officers separated from each other, designate an officer to complete

the CAPRS report, and brief investigators upon their arrival at the scene.


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       364.   MPDPPM 7-810.03 recognized that officers involved in critical incidents can

be profoundly affected by the incident. At the scene, Involved Officers shall not talk to

anyone about the incident, except to the Incident Commander, Lead Investigator, a

Federation representative or legal counsel. Escorts were to keep Involved and Witness

Officers separate. After a critical incident, Involved Officers shall be placed on a

mandatory paid administrative leave for a minimum of three calendar days and a maximum

of seven calendar days unless requested by the officer and approved by the Chief or his

designee.

       365.   Officers failed to abide by critical incident policies regarding body-worn

camera recordings, sequestration of involved officers, and other procedures designed to

maintain the integrity of an investigation.

       366.   The failure to abide by critical incident policies allowed involved officers to

compare and corroborate statements before any were officially recorded. Other officers

failed to ensure reliability and integrity as to the reports of the involved officers.

       367.   MPDPPM 5-317(IV)(F)(2) directed officers to take photographs of any

suspects injured by 40mm rounds.

       368.   Although Mr. Stallings was struck in the chest by a 40mm round, officers did

not photograph the paint on his sweatshirt or injuries sustained due to the round’s impact.

       369.   The failure to document the injuries and effects of force on Mr. Stallings

concealed the nature and extent of force used against him by officers.

       370.   MPDPPM 5-306 required officers to make a CAPRS report and supervisor

notification upon use of force. Another supervisor was to conduct the force review.


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       371.     MPDPPM 5-307 required a supervisor who is notified of a use of force

incident to determine if the incident meets the critical incident criteria, have the subject of

the use of force remain on scene until a supervisor arrives, and conduct a preliminary

investigation of the use of force incident. The preliminary investigation included debriefing

the officer who used force, note injuries to any individual involved, photograph the force

subject as well as the surrounding area, ensure on-scene evidence is preserved and

collected, locate and identify witnesses to the use of force incident, obtain statements from

witnesses to the use of force incident, and contact the Internal Affairs Unit Commander if

the force appears to be unreasonable or constitute possible misconduct. The supervisor was

also to review reports and supplements related to the use of force incident for completeness

and accuracy.

       372.     Officers misrepresented the conspicuousness of their appearance as law

enforcement upon their approach to Mr. Stallings. Officers omitted evidence that they

intentionally concealed their appearance as law enforcement during their drive down Lake

St.

       373.     Other officers failed to report misconduct and false and misleading

statements by involved officers.

       374.     Investigating officers failed to pursue leads or investigate whether Mr.

Stallings acted in self-defense, whether officers misrepresented facts or made false

statements, and whether involved officers acted improperly or in a criminal manner when

they engaged Mr. Stallings.




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          375.   Officers failed to investigate and document exculpatory evidence, such as the

marking round paint in the center of Mr. Stallings’ sweatshirt, showing that Mr. Stallings

was struck by a marking round in the chest before he fired toward the van.

          376.   Other officers and supervisors observed that false and misleading statements

were provided. However, those officers failed to take any action to correct or prevent those

issues.

          377.   The involved officers do not appear to have received any disciplinary actions

despite overt instances of constitutional violations.

          378.   Despite the participation of numerous officers and investigators, no

investigation into the constitutional violations committed by the involved officers appeared

to begin until after the conclusion of criminal proceedings against Mr. Stallings.

          379.   The involved officers gave false and misleading testimony during Mr.

Stallings’ criminal proceedings, and it does not appear that any corrective measures or

disciplinary actions have been taken by the MPD.

          380.   Mr. Stallings suffered violations of his constitutional rights because officers

were able to engage in improper conduct without fear of investigation or punishment.

    Lt. Kroll uses his Position to Encourage and Cause Constitutional Violations

          381.   During the incident with Mr. Stallings, Lt. Kroll was a lieutenant in the MPD

and the president of the Minneapolis Police Federation (the “Federation”), which was the

union that represented MPD officers. Lt. Kroll acted as an informal supervisor and

policymaker due to his role as Federation president. Lt. Kroll’s opinions and directives

influenced officers’ operations and tactics by providing guidance to members of the MPD.


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Lt. Kroll’s status as an MPD officer made him eligible to be Federation president. Several

provisions of the labor agreement between the Federation and the MPD established close

ties between Lt. Kroll’s position as president and the MPD.

       382.   Lt. Kroll used his position as Federation president to bolster his influence as

an MPD officer and influence the conduct of his fellow officers in a manner that was

contrary to official MPD policy and the policy of official MPD decision makers. Lt. Kroll

sought to persuade MPD officers to follow his policy and directives instead of rank-and-

file officers and the command structure of the MPD.

       383.   During his tenure as Federation president, while an MPD officer, Lt. Kroll

issued many directives and policy statements regarding MPD officer conduct. Lt. Kroll

also had discussions with relevant policymakers and commanders that influenced police

operations and conduct.

       384.   During previous incidents involving allegations of excessive force used by

MPD officers, Lt. Kroll suggested that the focus should be on the victim’s “violent”

criminal history, instead of culpability of the officers. Lt. Kroll also referred to Black Lives

Matter as a “terrorist organization.” 21

       385.   On June 1, 2020, Lt. Kroll issued a letter telling other officers that he had

been “closely monitoring what is occurring” with respect to the protests and the MPD’s

response. Lt. Kroll argued that officers “lacked support from the top” and called protesters



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  Libor Jany, Amid attention and controversy, Minneapolis police union head has no
regrets, STARTRIBUNE, Nov. 3, 2019, https://www.startribune.com/amid-attention-and-
controversy-minneapolis-police-union-head-has-no-regrets/564290012/.

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a “terrorist movement that […] was a long time build up which dates back years.” Lt. Kroll

made a criticism that the “ability for our officers to use gas munitions and less lethal

munitions to defend themselves” was delayed at the start of the protests. Lt. Kroll argued

that officers’ ability to use such measures earlier would have ended the protests. Lt. Kroll

also referred to operational discussions and communications that he had been a part of

before the letter was issued. The letter closed with Lt. Kroll telling MPD officers that “your

board is working hard on your behalf. We see the heroic work being done. We acknowledge

and commend you for it.” The statements in the letter indicate that Lt. Kroll had discussions

and influence with the City of Minneapolis regarding the MPD’s tactics and operations

during the George Floyd protests. Lt. Kroll’s encouragement of crowd-control weaponry

to intimidate civilian adversaries is consistent with the operations of officers that deprived

Mr. Stallings of his constitutionally-protected rights.

       386.   Lt. Kroll’s statements and policies encouraged officers to use force and

violence against civilians protesting against police brutality and racism. Lt. Kroll used his

status as an officer and influence as Federation president to provide cover and support for

officers who acted contrary to official MPD policy and used excessive force as a means to

intimidate protesters.




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                                    CAUSES OF ACTION

             Count 1 – 42 U.S.C. § 1983 – Fourth Amendment Violations
                     Involving Unlawful Seizure and Excessive Force
Stallings v. Bittell, Osbeck, Cushenbery, Stetson, Dauble, Sundberg, Severance, Lokke,
                               Stenerson, and John Does 1-5

          387.   Mr. Stallings realleges all allegations of this Complaint as if fully stated

herein.

          388.   The defendants acted under color of state law while performing the acts

described herein.

          389.   The defendants deprived Mr. Stallings’ Fourth and Fourteenth Amendment

rights through the actions described herein.

          390.   Sgt. Severance and Sgt. Bittell ordered officers to use excessive force against

civilians that included Mr. Stallings.

          391.   Officer Osbeck and Sgt. Bittell specifically directed officers to use force

when they encountered Mr. Stallings.

          392.   Officers Cushenbery and Stetson fired 40mm rounds at Mr. Stallings in

violation of his constitutional rights.

          393.   Officer Dauble pointed a 40mm launcher and attempted to shoot at Mr.

Stallings in violation of his constitutional rights.

          394.   During the arrest of Mr. Stallings, Sgt. Bittell and Officer Stetson used

improper force against Mr. Stallings in violation of his constitutional rights.




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          395.   Sgt. Lokke, Sgt. Stenerson, Officer Sundberg, and John Does 1-5 observed

improper force and failed to intervene, permitting the violation of Mr. Stallings’

constitutional rights.

          396.   The defendants’ actions violated constitutional rights that were clearly

established on May 30, 2020.

          397.   The defendants acted with evil intent or reckless indifference to Mr.

Stallings’ rights.

          398.   The defendants subjected Mr. Stallings to these deprivations of his rights in

such a manner as to render them liable for punitive damages.

          399.   As direct and proximate result of the acts of the defendants, Mr. Stallings

suffered injuries and other harms that entitle him to damages.

          400.   The manner in which the defendants deprived Mr. Stallings of his rights

supports an award of punitive damages, which are necessary to deter further improper

conduct.

          401.   Mr. Stallings is entitled to fully recover his costs, including reasonable

attorneys’ fees, under 42 U.S.C. § 1988.

               Count 2 – 42 U.S.C. § 1983 – First Amendment Violations
                               of Free Speech and Assembly
    Stallings v. Bittell, Osbeck, Cushenbery, Stetson, Dauble, Severance, and Mercil

          402.   Mr. Stallings realleges all allegations of this Complaint as if fully stated

herein.

          403.   The defendants, under color of state law, retaliated against Mr. Stallings for

engaging in constitutionally-protected activity.


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       404.   The defendants acted under color of state law while performing the acts

described herein.

       405.   The defendants deprived Mr. Stallings’ First and Fourteenth Amendment

rights through the actions described herein.

       406.   Sgt. Bittell and Officers Osbeck, Cushenbery, Stetson, and Dauble engaged

in a pattern of force against civilians with the purpose of intimidating and punishing them

for exercising their First Amendment rights.

       407.   Sgt. Severance directed officers to use force against civilians on Lake St. to

punish and intimidate them for exercising their First Amendment rights. Officers acted

pursuant to Sgt. Severance’s orders when they used force against Mr. Stallings to intimidate

and punish him for exercising his First Amendment rights.

       408.   Lt. Mercil encouraged subordinate officers to target and use force against

journalists and civilians exercising their First Amendment rights. Acting pursuant to Lt.

Mercil’s encouragement, Officer Osbeck directed officers to use force against Mr. Stallings

to intimidate and punish Mr. Stallings for his efforts to protest against police brutality and

racism.

       409.   The defendants’ actions violated constitutional rights that were clearly

established on May 30, 2020.

       410.   When officers used force toward Mr. Stallings, Mr. Stallings was engaged in

activity protected by the First Amendment’s guarantees of freedom of speech and

assembly.




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          411.   The defendants’ conduct chilled citizens from continuing to engage in

constitutionally-protected activities.

          412.   The defendants acted with evil intent or reckless indifference to Mr.

Stallings’ rights.

          413.   The defendants subjected Mr. Stallings to these deprivations of his rights in

such a manner as to render them liable for punitive damages.

          414.   As direct and proximate result of the acts of the defendants, Mr. Stallings

suffered injuries and other harms that entitle him to damages.

          415.   The manner in which the defendants deprived Mr. Stallings of his rights

supports an award of punitive damages, which are necessary to deter further improper

conduct.

          416.   Mr. Stallings is entitled to fully recover his costs, including reasonable

attorneys’ fees, under 42 U.S.C. § 1988.

           Count 3 – 42 U.S.C. § 1983 – Fourteenth Amendment Violations
                                      of Due Process
Stallings v. Bittell, Osbeck, Cushenbery, Stetson, Dauble, Sundberg, Severance, Lokke,
                       Stenerson, Jensen, Heyer, Mercil, and Folkens

          417.   Mr. Stallings realleges all allegations of this Complaint as if fully stated

herein.

          418.   The defendants acted under color of state law while performing the acts

described herein.

          419.   The defendants deprived Mr. Stallings of his Fourteenth Amendment Due

Process rights through the actions described herein.



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       420.    Commander Folkens, Lt. Mercil, Sgt. Severance, Sgt. Bittell, and Officers

Osbeck, Cushenbery, Stetson, and Dauble engaged in conduct that shocked the conscience

when they engaged in an operation to hunt and use improper force toward civilians that

included Mr. Stallings. Officers engaged in operations that were detrimental to legitimate

law enforcement purposes and created safety risks to civilians and officers. Officers caused

numerous and severe injuries to civilians, including Mr. Stallings. The conduct was

particularly shocking because it occurred in the context of protests against police brutality

and racism.

       421.    Sgt. Jensen, Sgt. Heyer, Sgt. Bittell, Sgt. Lokke, Sgt. Stenerson, and Officers

Osbeck, Cushenbery, Stetson, Dauble, and Sundberg engaged in conduct that shocked the

conscience when they participated in a recklessly-flawed investigation regarding the

incident involving Mr. Stallings. Officers provided false and misleading information,

omitted material facts, ignored exculpatory evidence, and failed to follow leads regarding

officer misconduct and exercise of self-defense by Mr. Stallings. The flawed investigation

and misleading evidence formed the foundation of criminal charges against Mr. Stallings.

Officers continued to provide false and misleading testimony throughout criminal

proceedings.

       422.    The defendants’ actions violated constitutional rights that were clearly

established on May 30, 2020.

       423.    The defendants acted with evil intent or reckless indifference to Mr.

Stallings’ rights.




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          424.   The defendants subjected Mr. Stallings to these deprivations of his rights in

such a manner as to render them liable for punitive damages.

          425.   As direct and proximate result of the acts of the defendants, Mr. Stallings

suffered injuries and other harms that entitle him to damages.

          426.   The manner in which the defendants deprived Mr. Stallings of his rights

supports an award of punitive damages, which are necessary to deter further improper

conduct.

          427.   Mr. Stallings is entitled to fully recover his costs, including reasonable

attorneys’ fees, under 42 U.S.C. § 1988.

           Count 4 – 42 U.S.C. § 1983 – Fourteenth Amendment Violation
                               of Equal Protection Clause
   Stallings v. Bittell, Osbeck, Cushenbery, Stetson, Dauble, Severance, and Mercil

          428.   Mr. Stallings realleges all allegations of this Complaint as if fully stated

herein.

          429.   Mr. Stallings is a Black man who protested police brutality and racism

following the murder of Mr. Floyd.

          430.   Officers deprived Mr. Stallings of his Equal Protection Clause rights due to

the actions described herein.

          431.   Lt. Mercil encouraged Officer Osbeck to target Black civilians due to racial

animus.

          432.   Officers falsely accused Mr. Stallings, and other Black civilians, of engaging

in looting and rioting despite the absence of evidence supporting those allegations.




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       433.    Sgt. Severance, Sgt. Bittell, and Officers Osbeck, Cushenbery, Stetson, and

Dauble engaged in an operation on Lake St. that targeted and used force primarily against

Black civilians, as well as civilians expressing solidarity for Black civilians’ rights.

       434.    Mr. Stallings was targeted and shot by officers due to racial animus and

discrimination.

       435.    The defendants acted under color of state law while performing the acts

described herein.

       436.    The defendants’ actions violated constitutional rights that were clearly

established on May 30, 2020.

       437.    The defendants deprived Mr. Stallings of his constitutional rights due to his

status as a Black man.

       438.    The defendants acted with evil intent or reckless indifference to Mr.

Stallings’ rights.

       439.    The defendants subjected Mr. Stallings to these deprivations of his rights in

such a manner as to render them liable for punitive damages.

       440.    As direct and proximate result of the acts of the defendants, Mr. Stallings

suffered injuries and other harms that entitle him to damages.

       441.    The manner in which the defendants deprived Mr. Stallings of his rights

supports an award of punitive damages, which are necessary to deter further improper

conduct.

       442.    Mr. Stallings is entitled to fully recover his costs, including reasonable

attorneys’ fees, under 42 U.S.C. § 1988.


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             Count 5 – 42 U.S.C. § 1983 – Conspiracy to Interfere with the
                            Assertion of Constitutional Rights
Stallings v. Bittell, Osbeck, Cushenbery, Stetson, Dauble, Sundberg, Severance, Lokke,
         Stenerson, Jensen, Heyer, Mercil, Folkens, Kroll, and John Does 1-5

          443.   Mr. Stallings realleges all allegations of this Complaint as if fully stated

herein.

          444.   The defendants conspired to deprive Mr. Stallings of constitutional rights.

The violations of constitutional rights have been described herein.

          445.   Members of the conspiracy engaged in acts that did, in fact, deprive Mr.

Stallings of constitutional rights.

          446.   Members of the conspiracy aided the violation of constitutional rights by

authorizing, condoning, and encouraging the violations. Members failed to report officer

misconduct and shielded officers from accountability or discipline due to the violation of

constitutional rights. Members provided false and misleading reports to facilitate the

violation of constitutional rights.

          447.   Members engaged in conduct suggesting agreement, including violation of

MPD policies, consistent conduct and statements among multiple officers at multiple

locations, and assent to other officers’ violations of constitutional rights.

          448.   The deprivation of constitutional rights permitted by the conspiracy caused

injury and harm to Mr. Stallings.

          449.   The defendants acted with evil intent or reckless indifference to Mr.

Stallings’ rights.




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          450.   The defendants subjected Mr. Stallings to these deprivations of his rights in

such a manner as to render them liable for punitive damages.

          451.   As direct and proximate result of the acts of the defendants, Mr. Stallings

suffered injuries and other harms that entitle him to damages.

          452.   The manner in which the defendants deprived Mr. Stallings of his rights

supports an award of punitive damages, which are necessary to deter further improper

conduct.

          453.   Mr. Stallings is entitled to fully recover his costs, including reasonable

attorneys’ fees, under 42 U.S.C. § 1988.

                     Count 6 – 42 U.S.C. § 1983 – Supervisory Liability
          Stallings v. Bittell, Severance, Lokke, Jensen, Heyer, Mercil, and Folkens

          454.   Mr. Stallings realleges all allegations of this Complaint as if fully stated

herein.

          455.   At all material times, the defendants had supervisory responsibilities over

officers who deprived Mr. Stallings of his constitutional rights.

          456.   The defendants had actual knowledge that officers were violating

constitutional rights of civilians, including those of Mr. Stallings.

          457.   The defendants also had actual knowledge that officers were failing to

accurately report on conduct that deprived persons, including Mr. Stallings, of their

constitutional rights.




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          458.   The defendants acted under color of state law and with deliberate

indifference to, authorized, or acquiesced in the violations of Mr. Stallings’ constitutional

rights by other officers.

          459.   The defendants acted with evil intent or reckless indifference to Mr.

Stallings’ rights.

          460.   The defendants subjected Mr. Stallings to these deprivations of his rights in

such a manner as to render them liable for punitive damages.

          461.   As direct and proximate result of the acts of the defendants, Mr. Stallings

suffered injuries and other harms that entitle him to damages.

          462.   The manner in which the defendants deprived Mr. Stallings of his rights

supports an award of punitive damages, which are necessary to deter further improper

conduct.

          463.   Mr. Stallings is entitled to fully recover his costs, including reasonable

attorneys’ fees, under 42 U.S.C. § 1988.

                            Count 7 – Monell Civil Rights Violation
                               Stallings v. City of Minneapolis

          464.   Mr. Stallings realleges all allegations of this Complaint as if fully stated

herein.

          465.   Before officers encountered Mr. Stallings, the City of Minneapolis and the

MPD had continuing, widespread, and persistent customs of unconstitutional misconduct

by officers.




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       466.    The customs have been described herein. They include excessive use of force

with crowd-control and less-lethal weaponry, excessive use of force during arrests,

improper targeting and use of force against Black persons, and failure to report, investigate,

and punish constitutional violations by officers.

       467.    The City of Minneapolis had notice that these customs existed through

widely-reported patterns and specific violations by its officers.

       468.    Supervisors and officers participated in and witnessed numerous examples

of these customs before and surrounding the incident with Mr. Stallings.

       469.    The City of Minneapolis engaged in deliberate indifference to or tacit

authorization of such conduct by officers after having notice of misconduct.

       470.    The City of Minneapolis failed to supervise or train officers adequately to

prevent the constitutional violations described herein.

       471.    Policymaking officials of the City of Minneapolis undertook actions with

deliberate indifference that caused violations of Mr. Stallings’ constitutional rights.

       472.    Mr. Stallings was injured by officers’ actions pursuant to these improper

customs. The MPD’s failure to adequately train and supervise officers contributed to Mr.

Stallings’ injuries.

       473.    As direct and proximate result of the acts of the defendant, Mr. Stallings

suffered injuries and other harms that entitle him to damages.

       474.    Mr. Stallings is entitled to fully recover his costs, including reasonable

attorneys’ fees, under 42 U.S.C. § 1988.




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                                 PRAYER FOR RELIEF

       WHEREFORE, Plaintiff Jaleel Stallings prays for judgment as follows:

       1.     That the Court find that the defendants committed acts and omissions

violating the First, Fourth, and Fourteenth Amendments to the United States Constitution

permitting a cause of action under 42 U.S.C. § 1983;

       2.     As to Counts 1-6, a money judgment against the defendants for

compensatory and punitive damages, together with costs, including reasonable attorneys’

fees under 42 U.S.C. § 1988 and prejudgment interest;

       3.     As to Count 7, a money judgment against the defendant for compensatory

damages, together with costs, including reasonable attorneys’ fees under 42 U.S.C. § 1988

and prejudgment interest;

       4.     For an order mandating changes in policies and procedures of the MPD to

prevent further violations of constitutionally-protected rights as stated herein;

       5.     For such other and further relief as this Court may deem just and equitable.

                                     JURY DEMAND

       Plaintiff demands a trial by jury on all issues triable pursuant to Rule 38 of the

Federal Rules of Civil Procedure.




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